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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                         ROME DIVISION

DAVID R. WILSON and            :
CHARLENE WILSON,               :
                               :
     Plaintiffs,               :        CIVIL ACTION
V.                             :        FILE NO. 4:06-CV-179-HLM
                               :
TASER INTERNATIONAL, INC., :
                               :
     Defendant.                :
_______________________________

        INDEX OF EXHIBITS TO PLAINTIFFS’ RESPONSE TO
            TASER INTERNATIONAL INC.’S RENEWED
              MOTION FOR SUMMARY JUDGMENT

        Exhibit                         Document

           A                      Deposition of Jeffrey Burt
                           J.J. and J.B. v. DGG TASER, Inc., et al
                          Leon County, FL Second Judicial Circuit
                                 Case No. 37-2005 CA 001569


          B-1                 Deposition of John Jewett (Vol. I)
                           J.J. and J.B. v. DGG TASER, Inc., et al
                          Leon County, FL Second Judicial Circuit
                                 Case No. 37-2005 CA 001569


          B-2                 Deposition of John Jewett (Vol. II)
                           J.J. and J.B. v. DGG TASER, Inc., et al
                          Leon County, FL Second Judicial Circuit
                                 Case No. 37-2005 CA 001569
Case 4:06-cv-00179-HLM Document 122-2 Filed 06/02/08 Page 2 of 2




      C              TASER International’s 2007 SEC filings




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